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                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                         Western Division


Thomas M. Gould, Clerk                                                                      Deputy-in-Charge
242 Federal Building                                                               U.S. Courthouse, Room 262
167 N. Main Street                                                                 111 South Highland Avenue
Memphis, Tennessee 38103                                                            Jackson, Tennessee 38301
(901) 495-1200                                                                                 (731) 421-9200



                                     NOTICE OF SETTING
                     Before Judge Samuel H. Mays, Jr., United States District Judge



                                                July 11, 2018


      RE:     18-2292-SHM/cgc
              Felecia Allen v. Ocwen Loan Servicing


      Dear Sir/Madam:

             A SCHEDULING CONFERENCE has been SET for TUESDAY, JULY 31, 2018 at 9:30
      A.M. in Courtroom 7, on the 9th floor of the Federal Building, Memphis, Tennessee, before United
      States District Judge Samuel H. Mays, Jr.

              PLEASE REVIEW THE ATTACHED INSTRUCTIONS.

            If you have any questions, please contact me at the number provided below, or contact
      Ms. Zandra Frazier, the Court’s case manager, at 901-495-1277 (e-mail address:
      Zandra_Frazier@tnwd.uscourts.gov).

                                         Sincerely,

                                           s/   Jean Lee
                                         Jean Lee, Judicial Assistant
                                         901-495-1283
                                         E-mail: jean_lee@tnwd.uscourts.gov

      Attachment
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                   UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF TENNESSEE
                        Office of the Clerk
_________________________________________________________________

                        INSTRUCTIONS CONCERNING
                   RULE 16(b) SCHEDULING CONFERENCE

_________________________________________________________________

  I.   DUTY TO NOTIFY

     Since this scheduling conference may be set before the
defendant[s] has been served or has appeared in the case, counsel
for the plaintiff is responsible for notification of defendant[s]
or defendant[s]’ counsel of the setting of the first Rule 16(b)
Conference. If plaintiff’s counsel is unable to notify the
defendant[s] or defendant[s]’ counsel, then plaintiff’s counsel
shall, at least two (2) working days prior to the scheduled Rule
16(b) Conference, so notify the Court.


 II.   DUTY TO CONFER

     Prior to the scheduling conference, counsel are required to
consult regarding schedules for completion of discovery,
filing of motions, trial and pretrial activities and other matters
addressed in these instructions.     A Joint Proposed Scheduling
Order, in Word or WordPerfect format, shall be submitted to the
Court’s e-mail box prior to the scheduling conference.      E-mail
address: ECF_Judge_Mays@tnwd.uscourts.gov.         Submission and
approval of the Proposed Scheduling Order WILL NOT cancel the
conference.


III.   ATTENDANCE REQUIRED

     The attendance of all unrepresented parties and lead trial
counsel for each represented party is required at the scheduling
conference; the unrepresented parties and counsel must be prepared
to address any pending motions or motions which may be raised
orally at the conference.    Failure to appear may result in the
imposition of sanctions. (See ¶ VII.)

     Out-of-town counsel may request permission from the Court to
handle the conference by telephone, provided the request is made at
least THREE (3) days prior to the date of the hearing. The request
must be made in writing to the Case Manager (e-mail is preferable)
and must include names and telephone numbers of all participants
requesting to appear by telephone. The conference call for the
scheduling conference will be initiated by the judge’s chambers.
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V.      INITIAL DISCLOSURE

     Fed.R.Civ.P. Rule 26(a)(1) & (2) and Rule 26(f) will be
enforced. Therefore, in accordance with Fed.R.Civ.P. 26(f), the
parties shall, at least 14 days prior to the Rule 16(b) scheduling
conference, meet for discussions in accordance with Rule 26(f) and
for the purpose of preparing a proposed discovery plan.         The
parties shall file a written report outlining the proposed
discovery plan at least 4 days prior to the first conference.
Counsel should refer to Form 52, Appendix of Forms to Fed.R.Civ.P.,
for a checklist of items to be discussed at the Rule 26(f) meeting
and included in the written report. Moreover, with in 10 days of
the 26(f) meeting (i.e. at least 4 days prior to the scheduling
conference), the parties1 shall make disclosure pursuant to Rule
26(a)(1) without formal discovery requests. Counsel are further
advised that, absent any agreement of the parties, no formal
discovery demand may issue pending the meeting under Rule 26(f).
Unless   the   parties   stipulate   otherwise,   the   number   of
interrogatories will be limited to 25 in accordance with
Fed.R.Civ.P. 33, and the number of depositions will be limited to
ten in accordance with Fed.R.Civ.P. 30.

  V.        REQUEST FOR EXEMPTION FROM RULE 26

     Counsel or parties wishing to request that they not be
required to comply with provisions of Rule 26(a) or (f) of the
Federal Rules of Civil Procedure, must adhere to the following
procedure in making the request. Requests are to be made by motion
in writing in compliance with local rules of this court. Requests
for exemption from the disclosure provisions of Rule 26(a) must be
made at least ten days before the date disclosure is required by
the rule.    Requests for exemption from the Rule 26(f) meeting
requirements must be made at least seven days before the date
scheduled for the meeting or, if the parties have scheduled no
meeting, at least twenty-one days before the date of the scheduling
conference.

  VI.        SUBJECTS AT CONFERENCE

     Generally, at the scheduling            conference,   the      following
subjects will be addressed:

1.      The status of the case, the general nature of the claims and
        defenses, issues in the case, and potential use of experts;




        1
         Except for parties in pro se prisoner litigation.

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2.    Jurisdictional and statute of limitations issues (all
      jurisdictional questions or timeliness questions should be
      reviewed in advance of the scheduling conference and, if
      motions have not already been filed, the Court should be
      advised at the scheduling conference that there are
      preliminary matters which require early disposition);2

3.    Setting of all deadlines for filing preliminary motions, the
      establishment of all deadlines for discovery (including
      disclosure of expert witness information where appropriate),
      the establishment of final deadlines for filing pretrial
      motions (including all motions for summary judgment), joining
      parties, amending pleadings, the establishment of pretrial
      conference and trial dates, and the establishment of any other
      appropriate deadlines. The court expects to set a definite
      trial date for this case which does not conflict with criminal
      case settings. The trial date will be consistent with the
      particular needs of this case and will be no later than
      eighteen months from the date of filing, unless the court
      certifies that the court’s calendar does not so permit or the
      complexity of the case requires a later setting.

4.    The desire of the parties to consent to all further
      proceedings in the case being handled by the magistrate judge
      in accordance with 28 U.S.C. § 636(c) (including entry of
      final judgment, with any appeal directly to the Sixth Circuit
      Court of Appeals);

5.    The possibility of settlement, your position regarding
      settlement, and the desire of the parties to utilize
      alternative dispute resolution, including the private
      mediation program plan, or whether the parties request a
      referral to the magistrate judge for a settlement conference;

6.    Status of all document discovery(parties are encouraged to
      promptly exchange core document information and, where
      necessary, to promptly issue requests for production of
      documents and subpoenas duces tecum to third parties);

7.    Any anticipated discovery problems (i.e., the necessity of
      protective orders, the necessity of inspection of facilities,
      witness unavailability, delays which may be occasioned because
      of an individual’s physical or mental condition, etc.);




      2
      Similarly, questions of class certification, qualified
immunity, or conflict of interest should be raised at the first
possible occasion and no later than the initial Rule 16(b)
scheduling conference.

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8.      Estimated trial time, and any special issues anticipated in
        connection with trial; and

9.      Any pending motions or motions which may be raised orally at
        the conference.



VII.     ORDER TO BE ENTERED

     An order will be entered reflecting the results of the
scheduling conference. The order will include deadlines for filing
motions and completing discovery, and the establishment of pretrial
conference and trial dates. Attached as Exhibit “A” to this notice
is a Form Rule 16(b) Scheduling Order which counsel may use as a
proposed order after developing appropriate agreed-upon deadlines.



VIII.     SANCTIONS FOR FAILURE TO APPEAR

     Failure to appear at the scheduling conference, or to comply
with the directions of the Court set forth herein, may result in an
ex parte hearing being held and the entry of such order as is just,
including a judgment of dismissal with prejudice or entry of a
default judgment, or other appropriate sanctions, such as
attorney’s fees and expenses of opposing counsel, without further
notice to the party who fails to appear.




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                                       EXHIBIT “A”

                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                                Western Division




_________________________________________
                        Plaintiff,

v.                                                               Cv. No.

_________________________________________
                        Defendant.




                           RULE 16(b) SCHEDULING ORDER

        Pursuant to written notice, a scheduling conference was held on ___________________,
20____. Participating on behalf of the plaintiff(s) was/were ____________________________.
Participating on behalf of the defendant(s) was/were __________________________________.
The following schedules and deadlines were established:

     JOINING PARTIES:       for Plaintiff
                            for Defendant

      AMENDING PLEADINGS: for Plaintiff
                          for Defendant

      COMPLETING ALL DISCOVERY:
           (a)  EXPERT DISCLOSURE (Rule 26):
                (i) Plaintiff's Rule 26 Expert:
                (ii) Defendant's Rule 26 Expert:
                (iii) Supplementation under Rule 26(e):
           (b)  DOCUMENT PRODUCTION, INTERROGATORIES and REQUESTS
                for ADMISSIONS:
           (c)  MOTIONS TO COMPEL DISCOVERY: to be filed and served within
                forty-five days of the default or the service of the response, answer or
                objection, which is the subject of the motion, unless the time for filing of
                such motion is extended for good cause shown, or the objection to the
                default, response, answer or objection shall be waived.



       FILING DISPOSITIVE MOTIONS:

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       FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3))):
            (a)    for Plaintiff:
            (b)    for Defendant:

       Parties shall have       days after service of final lists of witnesses and exhibits to list
       objections under Rule 26(a)(3).

       This trial is expected to last      days and will be SET for JURY/NON-JURY TRIAL
on                                                    .

       A pretrial conference will be conducted (lead counsel must be present) on
              , at       .m.

       A joint pretrial order, jury instructions and motions in limine are due on
                 .

       Absent good cause shown, the scheduling dates set by this order will not be modified or
extended.

       SO ORDERED this _______ day of ___________________, 20_____.




                                                     SAMUEL H. MAYS, JR.
                                                     UNITED STATES DISTRICT JUDGE




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